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UNCLASSIFIED//FOUO
FEDERAL BUREAU OF INVESTIGATION

Date of entry 02/04/2021

(U//FOUO) date of birth , was interviewed at
Woodland Park, CO
hours. After being advised of the identity of the interviewing Agent and

the nature of the interview, | provided the following

information:

at approximately 1225

     
 

 

 

(U//FOUO)

(referring to Robert Gieswein),

 
    
 

Bobby
have been

    

is a great guy. Bobby and

friends since they went to high school together.

(U//FOUO) Bobby really helped should

have been homeless a few times, but Bobby was always there to help him out

when he needed it. Bobby was there for [| even when mm: family was
not.

   
 

and his immediate family.

(U//FOUO) Bobby has been going through a tough time recently. He has had
some issues in his relationship with his significant other,
Bobby has been having a hard time with the break up. Bobby probably still

(U//FOUO) Bobby did not ask to go to D.C. with him. did not know
Bobby had even gone to D.C. to protest until "s girlfriend sent him
pictures from KOAA News 5 of Southern Colorado showing Bobby at the Capitol
Building. |] as not been as close with Bobby lately. — recently became
a father, and he and Bobby have grown apart.

  

  

(U//FOUO) Bobby and used to camp together, play video games, and go
shooting when they were still spending time together regularly. could
not say when the last time they went camping was, but he indicated it had

been a long time.

UNCLASSIFIED//FOUO

 

Investigationon 01/29/2021 at Woodland Park, Colorado, United States (In Person)

 

File# 266T-DN-3368527, 176-WF-3366759 Date drafted 02/01/2021

 

by SUMMEY DANIEL, RINNER ANNA LOUISE

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UNCLASSIFIED//FOUO
266T-DN-3368527

(U//FOUO) Interview of wy

 

Continuation of FD-302 of ,On 91/29/2021 page 2 Of 2
(U//FOUO)
(U//FOUO) thinks the reason Bobby went to D.C. was because Bobby really

loved President Trump.

(U//FOUO) Bobby used to work at a casino, but due to COVID he was moved
around at the casino and eventually let go. Bobby did plan to go back after
COVID had passed.

(U//FOUO) Bobby was the only Woodland Wild Dog that went to the Capitol

Building protest. said the Woodland Wild Dogs were just a group of

    

friends more than anything else. would not admit to being a Woodland

Wild Dog, but he did say he supports them.

(U//FOUO) thinks Bobby travelled to D.C. alone. does not know if
Bobby was planning to meet anyone once he got there. did not know

where Bobby stayed while he was in D.C.

(U//FOUO) stated that he believed there was a lot of influence there at
the protest that day. [|] thinks Bobby could have been influenced by

others at the protest to commit the acts he did.

(U//FOUO) was asked if there was anyone else that should be interviewed
that could provide information about Bobby, and suggested Bobby's
family. He said he did not know anyone else that would be able to provide a

lot of information about Bobby.

(U//FOUO) Present during the interview were SA A. Rinner, TFO D. Summey, and

Woodland Park Police Department Detective S. Everhart.

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